            Case 3:06-cr-00532-W                Document 34              Filed 01/08/07               PageID.180   Page 1 of 4




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 ~AO 245B    (Rev. 9/00) Judgment in a Criminal Case                                                                   JAN -~ 8
             Sheet 1                                                                                                                  JiJRT
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                                                                                                                                       DEPUTf
                             UNITED STATES DISTRICT CO
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED     STATES         OF AMERICA                         JUDGMENT IN A CRIMINAL CASE
                                  v.                                      (For Offenses Committed On or After November I, 1987)

                  Jose Orozco-Oropeza       (02)                          Case Number:             06CR0532-W

                                                                          Robert Llewellyn           Swain
                                                                          Defendant's   Attorney
REGISTRATION NO.9653198
THE DEFENDANT:
X    pleaded guilty to count(s)        one of the superseding information

     Accordingly, the defendant is adjudged guilty of such count( s), which involve the following offenses:
                                                                                                                            Count
Title & Section                    Nature of Offense                                                                      Number(s)
21 use 952, 960 & 963              Conspiracy      to Import Marijuana                                                      SI




   The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant          to the
Sentencing Reform Act of 1984.
The underlying indictment is ordered dismissed.


X   Assessment: $ 100.00 payable forthwith.
X   Fine ordered waived.

         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economIc circumstances.
                                                                         January R 2007
                                                                         Date of Imposition of Sentence



                                                                         THOMAS J. WHELA'
                                                                         UNITED STATES DISTRe
AD 24513     Case     3:06-cr-00532-W
             (Rcv. 9100) Judgmcnt in Criminal Casc Document 34             Filed 01/08/07          PageID.181             Page 2 of 4
             Sheet 2 -   Imprisonment

                                                                                                      Judgment -   Page   _2   _   of   .1
DEFENDANT:                       Jose Orozco-Oropeza
CASE NUMBER:                     06CR0532- W


                                                              IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
37 months.




X          The court makes the following recommendations to the Bureau of Prisons:

           The Court recommends         consideration for the Bureau of Prisons, long term, drug treatment program.




o       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:

                                                    o a.m.       o p.m.         on

        o       as notified by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        o       before 2 p.m. on

        o       as notified by the United States Marshal.

        o       as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

I have executed this judgment as follows:

       Defendant delivered on                                                             to


at   ________________                                 , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL

                                                                           By
                                                                                            DEPUTY UNITED STATES MARSHAL
AO 24513   Case 3:06-cr-00532-W
           (Rev. 9/00) Judgment in a Criminal Case      Document 34                     Filed 01/08/07               PageID.182                     Page 3 of 4
           Sheet 3 - Supervised Release


   DEFENDANT:
                                                                                                                            Judgment-Page            ~          of     --4
                              Jose orozco-Oropeza
  CASE NUMBER:                06CR0532- W
                                                               SUPERVISED RELEASE

  Upon release    from imprisonment,        the defendant       shall be on supervised         release     for a term of 3 years.
                                                          MANDATORY CONDITIONS

        The defendant shall rel:>ort to the probation          office in the district      to which the defendant        is released    within 72 hours of release from
  the custody of the Bureau of Prisons.
  The defendant    shall not commit      another      federaL state or local crime.

  The defendant    shall not illegally    possess     a controlled      substance.

  For offellses commilted Oil or after September / J. /994:
        The defendant shall refrain from any unlawful use of a controlled substance.    The defendant                          shall submit to one drug test within
   15 days of release from imprisonment   and at least two periodic drug tests thereafter.

  o The above drug testing condition is suspended, based on the court's determination                                that the defendant        poses a low risk of
       future substance     abuse.

       The defendant      shall not possess    a firearm.     destructive     device,     or any other dangerous        weapon.

             Drug testing requirements    will not exceed submission of more than eight drug tests per month during the term of supervision,
            unless ordered by the Court.
            IfThe
                thisdefendant
                     judgment shall cooperate
                               imposes          as adirected
                                        a fine or     restitutionin the collection it of
                                                                     obligation,         a DNA
                                                                                      shall       sample, pursuant
                                                                                            be a condition           to 18 release
                                                                                                           of supervised   USC 3583(d)
                                                                                                                                   that the defendant pay
       any such fine or restitution that remains unpaid at the commencement                  of the term of supervised release in accordance      with the
       Schedule of Payments set forth in this judgment.


       The defendant shall comply with the standard                  conditions      that have been adopted       by this court.       The defendant       shall also comply
  with any special conditions imposed.


                                         STANDARD CONDITIONS OF SUPERVISION

  I)   the defendant   shall not leave the judicial         district   without    the permission      of the court or probation          officer;

  2)   the defendant shall report to the probation           officer and shall submit a truthful            and complete     written report within the first five days
       of each month;
  3)   the defendant   shall answer      truthfully    all inquiries     by the probation      officer    and follow the instructions         of the probation          officer;
  4)   the defendant   shall support     his or her dependents          and meet other family responsibilities;
  5)   the defendant shall work regularly          at a lawful occupation,           unless excused      by the probation    officer for schooling,         training,    or other
       acceptable reasons;
  6)   the defendant   shall notify the probation         officer at least ten days prior to any change               in residence      or employment;
  7)   the defendant shall refrain from excessive            use of alcohol and shall not purchase, possess, use, distribute, or administer                             any
       controlled substance or any paraphernalia             related to any controlled substances. except as prescribed by a physician;
  S)   the defendant   shall not frequent      places where controlled            substances    are illegally     sold, used. distributed.          or administered;
  9)
       th~a d~fendant
       of              shall granted
             felony. unless   not associate with any
                                      permission      persons
                                                  to do  so by engaged   i~ crimi~al
                                                               the probatIOn   officer; activity                and shall not associate       with any person convicted

 10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere                                and shall permit confiscation
       of any contraband observed In plain view of the probation officer;
 II)   the defendant   shall notify the probation         officer within seventy-two           hours of being arrested         or questioned          by a law enforcement
       officer;

12)    the defendant shall not enter into any agreement                to act as an informer     or a special agent of a law enforcement                 agency      without the
       permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics    and shall permit the probation officer to make such notifications and to
       confirm the defendant's  compliance   with such notification requirement.
           Case 3:06-cr-00532-W                  Document 34            Filed 01/08/07           PageID.183           Page 4 of 4

AO 2458     (Rev. 9/00) Judgment in a Criminal Case
            Sheet 3 - Continued 2 - Supervised Release

                                                                                                      Judgment-Page     --4-- of --A
DEFENDANT:                 Jose Orozco-Oropeza
CASE NUMBER:               06CR0532-W


                                               SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall not possess firearms, explosive devices, or other dangerous weapons.
          The defendant shall submit to search of person, property, residence, abode or vehicle, at a reasonable time and in
          a reasonable manner, by the probation officer or other law enforcement officer.
 x        The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.
          The defendant shall not enter or reside in the Republic of Mexico without the permission of the probation officer.
          The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
          as directed by the probation officer. The defendant may be required to contribute to the costs of services rendered in an
          amount to be determined by the probation officer, based on the defendant's ability to pay. Drug testing requirements will not
          exceed submission of more than eight drug tests per month during the term of supervision, unless by order of the Court.
x
          The defendantas shall
          medications           participate
                          prescribed        in a program of mental and
                                       by a psychiatrist/physician, health
                                                                        not treatment
                                                                             discontinueas directed by the probation
                                                                                           any medication            officer, takeThe
                                                                                                           without permission.     all Court
          authorizes
          approved bythethe
                          release of theofficer.
                             probation    presentence report andmay
                                                 The defendant   available psychological
                                                                    be required           evaluations
                                                                                to contribute         to the
                                                                                              to the costs of mental
                                                                                                              serviceshealth provider,
                                                                                                                        rendered  in an as
          amount to be determined by the probation officer, based on the defendant's ability to pay.
          The defendant shall not associate with any known gang members or associates.
